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FII£D e‘i' _ p_c,
IN THE UNITED STATES DISTRICT coURT
FOR THE wEsTERN DISTRICT OF TENNESSEE SAUG 30 AH 7=145
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ANTHONY MURFF,
Petitioner,

vs. No. 05-2164-Ml/V

DAVID MILLS,

Respondent.

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ORDER VACATING MAY ll, 2005 ORDER
ORDER DENYING LEAVE TO PROCEED §§ FORMA PAUPERIS
ORDER CORRECTING THE DOCKET
ORDER OF DISMISSAL
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Petitioner Anthony Murff, Tennessee Department of
Correction prisoner number 331233, an inmate at the West Tennessee
State Penitentiary (“WTSP”) in Henning, Tennessee, filed.a petition
for a writ of habeas corpus pursuant to 28 U.S.C. § 2254 on March
l, 2005, along with an application seeking leave to proceed in
;Q;mg pauperis. The Court issued an order on May ll, 2005 denying
leave to proceed in §g;ma pauperis and directing the petitioner to
pay the habeas filing fee within thirty days. The Clerk docketed a
letter from the petitioner on May 20, 2005 indicating, correctly,

that he had paid the habeas filing fee on March 7, 2005.

Th!s document entered on the docket sheet ln compliance
with Ru|e 58 and/or 79(3) FFlCP on “' " 7

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Accordingly, the Court VACATES the May ll, 2005 order and DENIES
the ;p §p;ma pauperis motion as moot. The Clerk shall record the
respondent as WTSP warden David Mills.l

I. STATE COURT PROCEDURAL HISTORY

Following a jury trial in the Lauderdale County Circuit
Court, Murff was convicted of especially aggravated robbery on
February 23, 2001. He was sentenced on March 16, 2001 to sixty (60)
years imprisonment to be served at lOO% as a Range III offender.
The Tennessee Court of Criminal Appeals affirmed. State v. Murff,
No. W2000-Ol459-CCA-R3-CD, 2002 WL 1284296 (Tenn. Crim. App. June
ll, 2002).

Murff filed a ppg §§ petition pursuant to the then-
current version of the Tennessee Post-Conviction Procedure Act,
Tenn. Code Ann. §§ 40-30-201 to -222, in the Lauderdale County
Circuit Court on September 20, 2002 in which he alleged that he
received ineffective assistance of counsel. Counsel was appointed
to represent Murff and the postconviction court conducted an
evidentiary hearing on February 7, 2003. The postconviction court
dismissed the petition on February lO, 2003, and the Tennessee
Court of Criminal Appeals affirmed, Mp;;§_yp_§pgp§, No. W2003~
00467-CCA-R3~PC, 2004 WL 367668 (Tenn. Crim. App. Feb. 26, 2004),

perm. app. denied (Tenn. June 14, 2004}.

 

1 Although the petition lists Tennessee Attorney General Paul J.
Summers as an additional respondent, the proper respondent to a habeas petition
is the petitioner‘s custodian. §gg Rumsfeld v. Padilla, 124 S. Ct. 2711, 2718
(2004). The Clerk is ORDERED to remove Summers as a party to this action.

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On August ll, 2004, Murff filed a petition for a writ of
habeas corpus, pursuant to Tenn. Code Ann. § 29-21-101 pp §§gp, in
the Lauderdale County Circuit Court. The trial court summarily
denied the petition on August 16, 2004, and the Tennessee Court of
Criminal Appeals affirmed, Murff v. Mills, No. W2004-02210»CCA-R3-

HC, 2005 WL 195097 (Tenn. Crim. App. Jan. 28, 2005), perm. app.

denied (Tenn. May 23, 2005).

The Tennessee Court of Criminal Appeals summarized the
facts underlying the criminal charge as follows:

On May 27, 2000, the seventy-seven year old victim,
Robert Milton Woodard, Sr., who was partially paralyzed
from a stroke, was alone in his apartment in Ripley when
the forty~one~year-old defendant, Anthony Murff, came to
his door, ostensibly seeking payment for having mowed the
victim's lawn. When the victim admitted the defendant
into his home, the defendant struck hin\multiple times in
the head with a hammer, bound his arms behind his back
with an electrical cord, and took cash from his wallet.
The defendant was subsequently indicted on one count of
especially aggravated robbery and one count of aggravated
assault.

The defendant's trial was held February 22-23, 2001.
The State's first witness was the elderly victim, Who
described having been attacked and robbed by the
hammer-wielding defendant on the evening of May 27, 2000.
The victim testified that he heard a knock at his front
door at about 8:00 or 8:30 p.m., looked out his peephole,
and recognized the man who had mowed his yard and whose
mother lived ill the next-door apartment. Opening his
door, he said to the defendant, “I guess you’re here
after your money,” and the defendant replied, “Yes.” The
victim testified that he thought he owed the defendant
$5, and told him he would have to write a check because
he did not have the exact change. When he turned around
to get his checkbook, the defendant started hitting him
in the back of the head_ with a hammer, demanding,
“Where's your money and guns?” The victim said he told
the defendant that thieves had taken his guns, and that

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he did not have any money on him, except for a $10 bill
in his wallet in his hip pocket. He said he told the
defendant, “Just go ahead and take that,” and he thought
the defendant had done so.

The victim estimated that the defendant hit him
twenty~five to thirty times with the hammer before
shoving him onto the living room couch and tying his
hands behind his back with an electrical cord he cut from
a floor lamp. He said the defendant went to the back of
the apartment, out of his line of vision, during part of
the time that he was there. When he could no longer hear
the defendant, the victim went to his bedroom and
telephoned 911, having apparently somehowlnanaged to free
one arm. The police kicked. his door open. when they
arrived, and he reacted by shooting a gun that he had
hidden in his bedroom. The victim explained that it was
dark, and he had mistaken the policeman who first entered
his home for the defendant, “coming back” to “finish
[him] off.” He testified that he was taken first to the
emergency room of the local hospital and then to the
Regional Medical Center in Memphis (“The Med”), where
surgeons implanted a steel plate in the top of his head.

The victinlacknowledged on cross-examination that he
had probably owed the defendant money for cutting his
grass. However, he could. not remember the defendant
having told him he owed $10, and denied that there had
been any dispute over how many times the defendant had
cut the grass, or the amount he owed. He also denied that
he had cursed or hit the defendant, or threatened to
shoot or kill the defendant or his mother. The victim
testified that all the drawers in his bedroom dresser
were open, but as far as he could determine, the only
thing taken from his apartment was the cash from his
wallet. He said that he kept his loaded gun in his sock
drawer, and his sock drawer was the only drawer he had
opened. Although he acknowledged it was “possible” that
the defendant had brought him a towel for his head wound,
he had no memory of his having done so. He said that the
defendant had. not offered. to call for help and. had
shoved, rather than assisted, him onto the couch. The
victim.denied that he had a problenxwith alcohol, or that
he had been drinking on the day he was attacked.

On redirect, the victim testified that the defendant
kept saying “over and over” during' the attack that
someone had told him that the victim had $15,000 in his

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apartment. The victim testified, however, that the only
money he had was $lO or $12 in his wallet, and that the
defendant took the money only after “about beat{ing][his]
head in” with the hammer.

Sergeant Charles L. “Buddy" Smith of the Ripley
Police Department, who had known the victim for forty
years, testified that he and fellow officers arrived at
the victim's apartment at about 9:17 p.m. Unable to get
a response at either the front or the rear door, he stood
on tiptoes, shining his flashlight into the apartment
through a small window at the top of the front door. When
he saw dentures lying in a pool of what appeared to be
blood near the front door, they kicked the front door
open to gain forcible entry into the apartment. Smith
testified that Officer Jamie Jarrett was the first to
enter the apartment, and that he slipped in a pool of
blood as he went through the door. At about the same
time, two shots rang out, and Smith, who entered the
apartment immediately behind Jarrett, saw the victim,
dressed in a T-shirt and white boxer shorts, “slouching
along”[z] the hallway from the back bedroom. Smith
testified that he ducked behind the door and called the
victim by name, telling him that it was the police, that
it was “Buddy,” and to put his gun down. The victim
complied, stumbling forward into Smith’s arms and
allowing Smith to take his gun and place it on a living
room chair out of his reach.

Smith testified that blood was “profusely coming”
from the victim's head and face. One of his hands was
free; the other was tied so tightly with an electrical
cord that it was turning “purplishy-red.” When he asked
the victinlwho had attacked him, the victim told him, “My
yard man did it.” Smith identified a number of
photographs of the crime scene, including ones that
showed the victim's dentures lying in a pool of blood,
blood-soaked cushions on the couch, the victim's wallet
and keys lying on a televison tray in the living room,
the electrical cord used to tie the victim's hands, the
floor lamp from which the cord was cut, and the general
disarray in the victim's bedroom. He testified that the
dresser drawers in the victim's bedroom.were pulled out,
the closet door was open, the mattress was pushed

 

2 In a footnoter the state court observed that “Sergeant Smith

indicated that the victim's slouching gait was the result of his earlier stroke. ”
State v. Murff, 2002 wL 1284296, at *2 n.1.

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off-center on the bed, and an open jewelry box was on the
edge of the bed. According to Smith, the dresser drawers
and the jewelry box had been “gone through.” On
cross-examination, he acknowledged that the clothes in
the victim's dresser drawers appeared to be neatly folded
and lying flat, and testified that he had not smelled any
alcohol on the victim's breath.

Off-duty Ripley Police Officer Rich Mawyer, who was
also a paramedic, heard the radioed calls for assistance
and went to the victim's apartment to aid the emergency
medical technicians who were assisting the victinL Mawyer
testified that the victim had a serious head injury and
had lost a “considerable amount of blood." Around the
victim's right wrist, he found a lamp cord tied so
tightly that the distal portions of the victim's arm had
become badly swollen and discolored. Mawyer said that the
victim was in severe pain and extremely upset. He
testified that the victim told him that the man who cut
his grass had knocked on his door, pushed his way into
his apartment, and immediately started.hitting him in the
head with a hammer, which the victim assumed he had
brought with him.

The defendant's mother, June Brewer, who lived next
door to the victim, testified that the defendant came to
her apartment at about 1:30 p.m. on May 27, 2000,
bringing with him a bag of clothes because he planned to
spend the night. She said that he left her apartment at
about 5:30 or 6:00 p.m., dressed in white jogging pants
and a white shirt with stripes, and that she did not see
him again that day. On cross-examination, Ms. Brewer
testified that the defendant had mowed the victim's yard
twice, but the victin1 had. not been. home on several
occasions when the defendant had attempted to collect
payment. She testified.on redirect that the defendant did
not have any injury to his face when she saw him on May
27, 2000.

Steve Sanders, a criminal investigator with the
Ripley Police Department, arrived at the victim's
apartment at approximately 10:05 p.m. on May 27, 2000,
after the arrival of Criminal Investigator Jeff Fayne and
the securing of the crime scene, Sanders described the
bloody condition of the victim's living room, and
testified that the disarray' in the 'victim's bedroom
included a knocked-over lamp, a telephone on the floor,
open dresser drawers in which the clothes appeared to

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have been moved around, the mattress at an angle on the
bed with the victim's watch lying on the exposed box
springs, and an open jewelry box on the bed, in which the
contents appeared to have been rearranged. He said that
during their search of the surrounding area, Fayne
discovered some clothing and a wooden~handled hammer in
a plastic grocery bag inside a city garbage cart about
100 yards from the victim's apartment. Sanders identified
a photograph of the grocery bag and its contents,
testifying that the bag contained a pair of white jogging
pants, a pair of white tennis shoes, a black sock, a
white glove, and a wooden-handled hammer with a hole
drilled in the handle. He said that there appeared to be
blood on the shoes, on the pants, and on both the claw
and head areas of the hammer.

Sanders and Fayne later questioned the defendant at
city hall. After he had been advised of his Miranda
rights and. had signed. a waiver of rights form, the
defendant made a statement in which he admitted that he
had hit the victim in the head with the hammer, tied him
up with the electrical cord, and taken $10 from his
wallet. However, as the following portion of the
statement reveals, the defendant attempted to portray the
victim as the aggressor in the encounter:

I Anthony Murff went to [the victim's] door
and knocked and ask [sic] him could he pay me for
cutting his yard. He said how much do I owe you? I
told him that he owed me $l0.00. He said how in
hell do I owe you $10.00 and I said I cut your yard
week before last and last week. He said your [sic]
a lying mother fucker and slapped me. After he
slapped me he started to turn around and said let
me get my gun I'm going to kill your black ass. At
that point I hit him in the head with the hammer.
After I hit him we got into a wrestling match where
he continued to tell me that he was going to kill
[me]. [The victim] then fell into the floor and
continued to say I'm going to kill you and your
mother. I then told [the victim] that all I came
over here for was the money that you owe me. I then
helped [the victim] up off the floor and set [sic]
him on the couch and told him that I was sorry.
[The victim] said It don't [sic] matter I [sic]
still going to kill your black ass. [The victim]
kept trying to get up off the couch saying let me
get my gun, thats [sic] when I tied him up with the

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cord that I cut off of a lamp to keep him from
getting the gun and killing me or my mother. Just
before I tied him up I got $10.00 out of his wallet
after he threw it at me.

The defendant also told the investigators that he
had changed his clothes at his mother's apartment and
placed a grocery bag, containing the hammer and the
clothes he had worn during the attack, in a garbage can
down the street from his mother's home.

Sanders testified that he had examined and copied
the victim's medical records from Baptist Memorial
Hospital-Lauderdale and The Med. These medical records
were admitted into evidence by stipulation of the
parties. Sanders testified that the victim's medical
records revealed that he suffered multiple lacerations
and. injuries to his heads neck, and jaw' during the
attack, including “multiple complex lacerations observed
to the head after it was shaved, depressed skull fracture
which required that . . . a skull fracture plate be
inserted in [the victim's] head, and . . . two other
complex scalp lacerations on the right side of his head
that had to be stapled together."

Sanders acknowledged on cross-examination that it
was within “the realm of possibility" that the disarray
he had observed in the victim's bedroonawas caused by the
victim, and that neither the victim nor his family had
ever reported anything missing other than the cash taken
from the victim's wallet. He said that Fayne had
attempted to lift fingerprints from the victim's bedroom
but had.been unsuccessful. On redirect, he testified that
he had not seen any sign of injury to the defendant when
he interviewed him after the incident.

Patrolman Kelly Schroburger of the Ripley Police
Department testified that he located the defendant
approximately four-tenths of a mile from the victim's
apartment. between 10:00 and 11:00 p.m. on May 27, 2000,
and took him to the police department. He said that the
defendant was dressed in clean, neatly pressed dress
pants, dress shirt, and clean dress shoes, and the
defendant told him he had been at his mother’s house.

Tennessee Highway Patrol Officer Jamie Jarrett, who
had been an officer with the Ripley Police Department on
May 27, 2000, testified that he was the first officer to

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enter the victim's residence in response to his 911 call.
As he entered the dark apartment, yelling “Police,
police,” he saw the victim standing in the hallway
dressed in a “very' bloody” white T~shirt and. white
underpants, and bleeding “real bad” from his head and
face. He next saw the victim reach toward his bed, saw a
flash, heard a “bang,” and realized that the victim was
shooting at him. Jarrett testified that he was not hurt
and had no hard feelings against the victim for shooting
at him. He knew the victim had been very frightened and
understood the victim's reaction.

Lauderdale County Jail Administrator Timothy A.
Bratton testified that the defendant's inmate medical
history reflected that he did not exhibit any visible
signs of illness or trauma, and he answered “[n]o” to
whether he had suffered any recent head injury, when he
was booked into the jail at 4:36 a.m. on May 28, 2000.
Richard Rhodes, the officer who took the medical history,
testified that he did not see any signs of injury to the
defendant, and he remembered the defendant telling him
that he did not have any head injury or illness to
report.

Ripley Police Department Criminal Investigator Jeff
Fayne described his investigation of the incident, and
identified the items he found in the garbage cart. He
testified that there were drops of blood on the hammer
and “quite a bit of blood down around the legs” of the
defendant's white jogging pants, as well as “some up
around the mid-thigh area.” He also found a drop of blood
beside the door mat outside Ms. Brewer’s door. as well as
on the door itself. During his interview with Ms. Brewer,
she “stated that her son had a hammer that had been at
her apartment that had a hole drilled in the handle of
it.” The defendant, when questioned, told him that he had
been driving a nail into his mother's wall in order to
fix a place to tie his dog. However, Fayne saw no signs
of any dog at or around.Ms. Brewer’s apartment, and found
no evidence of where one could have been tied. He saw no
evidence of any injury to the defendant when he took his
statement.

Fayne testified that he took the victim's statement
at the Intensive Care Unit of The Med on May 31, 2000. He
identified photographs, which.were subsequently admitted
into evidence, showing the extent of the victim's
injuries at that time. Fayne testified that most of the

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victim's injuries occurred to the right side of the back
of his head and his right shoulder. However, in addition
to these “severe, severe injuries,” the victim also had
an injury to his left jaw, a cut on his left leg above
his knee, and various bruising and cuts on his right
forearm and hand, which Fayne characterized as defensive
wounds.

The only witness to testify on the defendant's
behalf was the custodian of the medical records at the
Baptist Memorial Hospital-Lauderdale. Through her
testimony, the defendant's medical records were
introduced into evidence. These records indicate that the
defendant was admitted to the hospital on April 29, 2000,
approximately one month. before the instant offense,
complaining of asthma, and.was discharged.on May l, 2000,
with a “discharge diagnosis" that included “status post
contusion of left eye with possible mass or hematoma of
left maxillary sinus.” The records further reflect that
a CT scan of the head was ordered during the defendant's
hospital stay “due to the recent history of trauma and to
the possible fracture of the inferior orbit,” and that
the defendant underwent a surgical biopsy of the mass on
August 30, 2000.

State v. Murff, 2002 WL 1284296, at *1-*5 (alterations in original;
footnote omitted).
II. PETITIONER'S FEDERAL HABEAS CLAIMS

In this federal habeas petition, Murff raises the
following issues:

l. Whether the Tennessee Court of Criminal Appeals
erred by denying the postconviction petition when
the petitioner plainly alleged that he was denied
his Sixth Amendment right to a fair and impartial
jury by reason of the juror selection process
employed at trial;

2. Whether the Tennessee Court of Criminal Appeals
erred by denying the postconviction petition when
the petitioner plainly alleged that the State
violated his Fourth Amendment rights by failing to
promptly arraign him;

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3. Whether the Tennessee Court of Criminal Appeals
erred by denying the postconviction petition when
the petitioner clearly demonstrated that he
received ineffective assistance of counsel, in
violation of the Sixth Amendment;

4. Whether the Tennessee Court of Criminal Appeals
erred by denying the postconviction claim
concerning his trial counsel's inadequate
consultation, in violation of the Sixth Amendment;
and

5. Whether the Tennessee Court of Criminal Appeals
erred by denying the postconviction claim
concerning the failure of trial counsel to ensure
that the jury instructions were proper.

III. ANALYSIS
A. Waiver and Procedural Default
TWenty-eight U.S.C. § 2254(b) states, in pertinent part:
(1) An application for a writ of habeas corpus on
behalf of` a person in custody' pursuant to the
judgment of a State court shall not be granted

unless it appears that~

(A) the applicant has exhausted the remedies
available in the courts of the State; or

(B) (i) there is an absence of available State
corrective process; or

(ii) circumstances exist that render such
process ineffective to protect the rights
of the applicant.
(2) An application for a writ of habeas corpus may be
denied on the merits, notwithstanding the failure
of the applicant to exhaust the remedies available
in the courts of the State.
Thus, a habeas petitioner must first exhaust available state

remedies before requesting relief under § 2254. E. ., Granberry v.

Greer, 481 U.S. 129, 133-34 (1987); Rose v. Lundy, 455 U.S. 509,

 

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519 (1982); Rule 4, Rules Governing Section 2254 Cases in the
United States District Courts (“Section 2254 Rules”). A petitioner
has failed to exhaust his available state remedies if he has the
opportunity to raise his claim by any available state procedure. 28
U.S.C. § 2254©; Preiser v. Rodriguez, 411 U.S. 475, 477, 489-90
(1973}.

To exhaust his state remedies, the petitioner must have
presented the very issue on which he seeks relief from the federal
courts to the courts of the state that he claims is wrongfully

confining him. Picard v. Connor, 404 U.S. 270, 275-76 (1971); Rust

 

v. Zent, 17 F.3d 155, 160 (6th Cir. 1994). “[A] claim for relief in
habeas corpus must include reference to a specific federal
constitutional guarantee, as well as a statement of the facts which
entitle the petitioner to relief." Grav v. Netherland, 518 U.S.
152, 162-63 (1996). “‘[T]he substance of a federal habeas corpus
claim must first be presented to the state courts.'" ldp at 163
(quoting Picard, 404 U.S. at 278). A habeas petitioner does not
satisfy the exhaustion requirement of 28 U.S.C. § 2254(b) “by
presenting the state courts only with the facts necessary to state
a claim for relief.” ldp

Conversely, “[i]t is not enough to make a general appeal
to a constitutional guarantee as broad as due process to present
the ‘substance' of such a claim to a state court.” ida When a

petitioner raises different factual issues under the same legal

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theory he is required to present each factual claim to the highest
state court in order to exhaust his state remedies. O’Sullivan v.
Boerckel, 526 U.S. 838, 845 (1999); see also Pillette v. Foltz, 824
F.2d 494, 496 (6th Cir. 1987). He has not exhausted his state
remedies if he has merely presented a particular legal theory to
the courts without presenting each factual claim. Pillette, 824
F.2d at 497-98. The claims must be presented to the state courts as
a matter of federal law. “It is not enough that all the facts
necessary to support the federal clainl were before the state

courts, or that a somewhat similar state-law claim was made.”

Anderson v. Harless, 459 U.S. 4, 6 (1982); see also Duncan v.
Henry, 513 U.S. 364, 366 (1995) (per curiam) (“If a habeas

petitioner wishes to claim that an evidentiary ruling at a state
court trial denied him the due process of law guaranteed by the
Fourteenth Amendment, he must say so, not only in federal court,
but in state court.”).

Moreover, the state court decision_must rest primarily on
federal law. Coleman v. Thompson, 501 U.S. 722, 734-35 (1991). If
the state court decides a claim on an independent and adequate
state ground, such as a procedural rule prohibiting the state court
from reaching the merits of the constitutional claim, the
petitioner ordinarily is barred by this procedural default from
seeking federal habeas review. Wainwright v. Sykes, 433 U.S. 72,

87-88 (1977). However, the state-court decision need.not explicitly

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address the federal claims; instead, it is enough that the
petitioner's brief squarely presents the issue. Smith v. Digpon,
434 U.S. 332 (1978) (per curiam); see also Baldwin v. Reese, 124 S.
Ct. 1347, 1350-51 (2004) (a federal habeas claim is fairly
presented to a state appellate court only if that claim appears in
the petitioner's brief).

When. a petitioner's claims have never been actually
presented to the state courts but a state procedural rule prohibits
the state court from extending further consideration to them, the
claims are deemed exhausted, but procedurally barred. Coleman, 501
U.S. at 752-53; Teague v. Lane, 489 U.S. 288, 297-99 (1989);

Wainwriqht v. Svkes, 433 U.S. at 87-88; Rust, 17 F.3d at 160.

 

` A petitioner confronted.with either variety of procedural
default must show cause for the default and that he was prejudiced
in order to obtain federal court review of his claim. Teague, 489
U.S. at 297-99; Wainwright v. Sykes, 433 U.S. at 87-88. Cause for
a procedural default depends on some “objective factor external to
the defense” that interfered with the petitioner's efforts to
comply with the procedural rule. Coleman, 501 U.S. at 752-53;
Murrav v. Carrier, 477 U.S. 478, 488 (1986)i

A. petitioner may avoid the procedural bar, and the
necessity of showing cause and prejudice, by demonstrating “that
failure to consider the claims will result in a fundamental

miscarriage of justice.” Coleman, 501 U.S. at 750. The petitioner

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must show that “‘a constitutional violation has probably resulted
in the conviction of one who is actually innocent.’" Schlup v.
Delo, 513 U.S. 298, 327 (1995) (quoting Murray, 477 U.S. at 496).
“To establish the requisite probability, the petitioner must show
that it is more likely than not that no reasonable juror would have
convicted him in the light of the new evidence.” Id.

The conduct of Murff's postconviction proceedings was
governed.by the then-current version of Tennessee's Post-Conviction
Procedure Act, Tenn. Code Ann. §§ 40-30-201 to -222. That act
specified types of procedural default that might bar a state court
from reviewing the merits of a constitutional claim. A one-year
statute of limitations governed the filing of petitions. Id. at §
40-30-202. The statute also enunciated a standard by which state
courts were to determine whether to consider the merits of post-
conviction claims:

Upon receipt of a petition in proper formr or upon

receipt of an amended petition, the court shall examine
the allegations of fact in the petition. If the facts
alleged, taken as true, fail to show that the petitioner
is entitled to relief or fail to show that the claims for
relief have not been waived or previously determined, the
petition shall be dismissed. The order of dismissal shall

set forth the court's conclusions of law.

Id. at § 40-30-206(f).3

 

3 Tenn. Code Ann. § 40-30-206 continued:

(g) A ground for relief is waived if the petitioner personally or
through an attorney failed to present it for determination in
any proceeding before a court of competent jurisdiction in
which the ground could have been presented unless:

(continued...)

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The Sixth Circuit has upheld the dismissal of a Tennessee
prisoner’s habeas petition as barred by a procedural default caused
by failing to file within the Tennessee statute of limitations on
postconviction relief. Hannah v. Conley, 49 F.3d 1193, 1194-95 (6th
Cir. 1995) (construing first statute and stating “the language of
Tenn. Code Ann. § 40-30-102 is mandatory”). In this case, Murff's
right to file any further state postconviction petition is barred
by the one-year statute of limitations and. therefore, he does not
have the option of returning to state court to exhaust any claim
presented in this § 2254 petition.

B. Leoal Standard for Merits Review

The standard for reviewing a habeas petitioner's
constitutional claims on the merits is enunciated in 28 U.S.C. §
2254(d). That section provides:

An application for a writ of habeas corpus on behalf of
a person in custody pursuant to the judgment of a State
court shall not be granted with respect to any claim that

was adjudicated on the merits in State court proceedings
unless the adjudication of the claim-

 

(...continued)

(1) The claim for relief is based upon a constitutional
right not recognized as existing at the time of trial if
either the federal or state constitution requires
retroactive application of that right; or

(2) The failure to present the ground was the result of
state action in 'violation of the federal or state
constitution.

(h) A ground for relief is previously determined if a court of

competent jurisdiction has ruled on the merits after a full
and fair hearing. A full and fair hearing has occurred where
the petitioner is afforded the opportunity to ca11 witnesses
and otherwise present evidence, regardless of whether the
petitioner actually introduced any evidence.

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(l) resulted in a decision that was contrary to, or
involved an unreasonable application of, clearly
established Federal law, as determined by the
Supreme Court of the United States; or

(2) resulted in a decision that was based on an
unreasonable determination of the facts in light of
the evidence presented in the State court
proceeding.

This Court must determine whether the state court adjudications of
the claims that were decided on the merits were either “contrary
to” or an “unreasonable application of” “clearly established”
federal law as determined by the United States Supreme Court. This
Court must also determine whether the state court decision was
based on an unreasonable determination of the facts in light of the
evidence presented in the state proceeding.

1. § 2254§d!§1)

The Supreme Court has issued. a series of decisions
setting forth the standards for applying § 2254(d)(1).4 In §Terry)
Williams v. Taylor, 529 U.S. 362, 404 (2000), the Supreme Court
emphasized that the “contrary to” and “unreasonable application of”
clauses should. be accorded independent meaning. A state-court
decision may be found to violate the “contrary to” clause under two
circumstances:

A state-court decision will certainly be contrary to our

clearly established precedent if the state court applies

a rule that contradicts the governing law set forth in

our cases. . . . A state-court decision will also be
contrary to this Court's clearly established precedent if

 

‘ By contrast, there is a dearth of caselaw concerning the standards

for applying § 2254(d)(2).

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the state court confronts a set of facts that are

materially indistinguishable from aa decision. of this

Court and nevertheless arrives at a result different from

our precedent. Accordingly, in either of these two

scenarios, a federal court will be unconstrained by §

2254(d)(1) because the state-court decision falls within

that provision's “contrary to” clause.
Id. at 405-06 (citations omitted); see also Price v. Vincent, 538
U.S. 634, 640 (2003); Lockver v. Andrade, 538 U.S. 63, 73 (2003);
Bell v. Cone, 535 U.S. 685, 694 (2002).5 The Supreme Court has
emphasized the narrow scope of the “contrary to” clause, explaining
that “a run-of-the-mill state-court decision applying the correct
legal rule from our cases to the facts of a prisoner’s case would
not fit comfortably within § 2254(d)(l}'s ‘contrary to‘ clause.”
Williams, 529 U.S. at 406; see also id. at 407 (“If a federal
habeas court can, under the ‘contrary to‘ clause, issue the writ
whenever it concludes that the state court's application of clearly
established federal law was incorrect, the ‘unreasonable
application' test becomes a nullity.”).

A federal court may grant the writ under the

“unreasonable application” clause “if the state court correctly
identifies the governing legal principle from [the Supreme Court's]

decisions but unreasonably applies it to the facts of the

particular case.” Cone, 535 U.S. at 694; see also Andrade, 538 U.S.

 

5 The Supreme Court has emphasized that this standard “does not require

citation of our cases-indeed, it does not even require awareness of our cases,
so long as neither the reasoning nor the result of the state-court decision
contradicts them.” Early v. Packer, 537 U.S. 3, 8 (2002) (per curiam) (emphasis
in original).

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at 75; Williams, 529 U.S. at 409.6 “[A]n unreasonable application
of federal law is different fron1 an incorrect application. of
federal law.” Williams, 529 U.S. at 410.7 “[A] federal habeas court
making the ‘unreasonable application' inquiry should ask whether
the state court’s application of clearly established federal law
was objectively unreasonable.” Ldp at 409.8

Moreover, § 2254(d)(1) refers to “clearly established”

federal law, “as determined by the Supreme Court of the United

 

6 Although the Supreme Court in Williams recognized, lp dicta, the
possibility that a state-court decision could be found to violate the
“unreasonable application” clause when “the state court either unreasonably
extends a legal principle from our precedent to a new context where it should.not
apply or unreasonably refuses to extend that principle to a new context where it
should apply,” 529 U.S. at 407, the Supreme Court expressed a concern that “the
classification does have some problems of precision,” ;gp at 408. The Williams
Court concluded that it was not necessary “to decide how such ‘extension of legal
principle' cases should be treated under § 2254(d)(1),” idb at 408-09, and, to
date, the Supreme Court has not had occasion to revisit the issue. _S_§g Williams
v. Coyle, 260 F.3d 684, 699-700 (6th Cir. 2001), cert. denied, 536 U.S. 947
(2002).

7 See also Andrade, 538 U.S. at 75 (lower court erred by equating
“objectively unreasonable” with “clear error”; “These two standards, however, are
not the same. The gloss of clear error fails to give proper deference to state
courts by conflating error (even clear error) with unreasonableness."); Woodford
v. Visciotti, 537 U.S. 19, 25 (2002) (per curiam) (holding that the lower court
“did not observe this distinction [between an incorrect and an unreasonable
application of federal law], but ultimately substituted its own judgment for that
of the state court, in contravention of 28 U.S.C. § 2254(d).”); Cone, 535 U.S.
at 698-99 (“For [a habeas petitioner] to succeed . . . , he must do more than
show that he would have satisfied Strickland's test if his claim were being
analyzed in the first instance, because under § 2254(d)(1), it is not enough to
convince a federal habeas court that, in its independent judgment, the state-
court decision applied Strickland incorrectly."); Williams, 529 U.S. at 411
(“Under § 2254(d)(1)'s ‘unreasonable application' clause. then, a federal habeas
court may' not issue the writ simply because that court concludes in its
independent judgment that the relevant state-court decision applied clearly
established federal law erroneously or incorrectly. Rather, that applicationlmust
also be unreasonable.”).

3 See also Brown v. Payton, No. 03-1039, slip op. at 13 (U.S. Mar. 22,

2005) (“Even were we to assume the ‘“relevant state-court decision applied
clearly established federal law erroneously or incorrectly,"' . . . there is no
basis for further concluding that the application of our precedents was
‘objectively unreasonable.'”) (citations omitted).

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States.” This provision “expressly limits the source of law to
cases decided. by the `United States Supreme Court.” Harris v.
Stovall, 212 F.3d 940, 944 (6th Cir. 2000). As the Sixth Circuit
explained:

This provision marks a significant change from the

previous language by referring only to law determined by

the Supreme Court. A district court or court of appeals

no longer can look to lower federal court decisions in

deciding whether the state decision is contrary to, or an

unreasonable application of, clearly established federal

law.
Herbert v. Billy, 160 F.3d 1131, 1135 (6th Cir. 1999) (Citing 17A
C. Wright, A. Miller & E. Cooper, Federal Practice and Procedure §
4261.1 (2d ed. Supp. 1998)); see also Harris, 212 F.3d at 944 (“It
was error for the district court to rely on authority other than
that of the Supreme Court of the United States in its analysis
under § 2254(d).”). Finally, in determining whether a rule is
“clearly established,” a habeas court is entitled to rely on “the
holdings, as opposed to the dicta, of [the Supreme] Court’s
decisions as of the time of the relevant state-court decision.”
Williams, 529 U.S. at 412.

2. § 2254§d1(21
There is almost no case law about the standards for

applying § 2254(d)(2), which permits federal courts to grant writs
of habeas corpus where the state court’s adjudication of a

petitioner's claim “resulted in a decision that was based on an

unreasonable determination of the facts in light of the evidence

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presented in the State court proceeding." The few decisions
interpreting this provision. have attempted. to incorporate the
standards applicable to the “unreasonable application” prong of §
2254(d)(1). Thus, the Sixth. Circuit stated, in. an 'unpublished
decision, that

a federal habeas court may not grant habeas relief under

§ 2254(d)(2) simply because the court disagrees with a

state trial court's factual determination. Such relief

may only be granted if the state court's factual

determination was “objectively unreasonable” in light of

the evidence presented in the state court proceedings.

Moreover . .. , the state court's factual determinations

are entitled to a presumption of correctness, which is

rebuttable only by clear and convincing evidence.
Young v. Hofbauer, 52 Fed. Appx. 234, 236 (6th Cir. Dec. 2, 2002)
(citing 28 U.S.C. § 2254(e)(l));9 see also Stanlev v. Lazaroff, 01-
4340, 2003 WL 22290187, at *9 (6th Cir. Oct. 3, 2003); Jackson v.
Holland, No. 01-5720, 2003 WL 22000285, at *7 (6th Cir. Aug. 21,
2003) (“Though the Supreme Court has not yet interpreted. the
‘unreasonable determination' clause of § 2254(d)(2), based upon the
reasoning in Williams, it appears that a court may grant the writ
if the state court's decision is based on an objectively
unreasonable determination of the facts in light of the evidence

presented during the state court proceeding.”) (citing Torres v.

Prunty, 223 F.3d 1103, 1107-08 (9th Cir. 2000)).

 

9 See also Sumner v. Mata, 449 U.S. 539, 546-47 (1981) (applying
presumption of correctness to factual determinations of state appellate courts).

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IV. ANALYSIS OF PETITIONER’S CLAIMS

 

A. The jury selection issue (Claim 1)

In his first claim for relief, Murff contends that his
Sixth Amendment right to a fair and impartial jury was violated. In
his legal memorandums Murff explains that his trial counsel
provided ineffective assistance for failing to object to a
prospective juror who was employed as a sergeant at the Lauderdale
County Jail, where Murff was held prior to trial. According to
Murff, the prospective juror had personal animosity toward him due
to grievances Murff had filed concerning his failure properly to
supervise his employees at the Jail. Murff also asserts that the
very presence of the sergeant on the jury violated his Sixth
Amendment rights, as the juror's alleged animosity constituted a
personal interest in the outcome of the criminal case.

As a preliminary matter, there is no indication that
Murff exhausted his claim that the very presence of the sergeant on
the jury violated his Sixth Amendment right to an impartial jury.
As Murff has not shown either cause or prejudice, or satisfied the
standard set forth in Schlup v. Delo, that aspect of the first
claim is barred by procedural default.10

Murff raised the ineffective assistance aspect of this

claim in his postconviction petition, and the Tennessee Court of

 

w As discussed infra p. 16, trial counsel advised the petitioner that

he had no valid claim concerning the sergeant because he had accepted him as a
juror even though his peremptory challenges were not exhausted.

 

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Criminal Appeals rejected the claim on the merits. Murff v. State,
2004 WL 367668, at *2, *3, *5. Accordingly, the petitioner has
exhausted an ineffective assistance clainlbased on the selection of
the sergeant as a juror.

A claim that ineffective assistance of counsel has
deprived. a habeas petitioner of his Sixth. Amendment right to
counsel is controlled by the standards enunciated in Strickland v.
Washington, 466 U.S. 668, 687 (1984):

A convicted defendant's claim that counsel's
assistance was so defective as to require reversal of a
conviction or death sentence has two components. First,
the defendant must show that counsel's performance was
deficient. This requires showing that counsel made errors
so serious that counsel was not functioning as the
“counsel” guaranteed the defendant by the Sixth
Amendment. Second, the deficient performance prejudiced
the defense. This requires showing that counsel's errors
were so serious as to deprive the defendant of a fair
trial, a trial whose result is reliable. Unless a
defendant makes both showings, it cannot be said that the
conviction or death sentence resulted fronla breakdown in
the adversary process that renders the result unreliable.

To demonstrate deficient performance by counsel, a
petitioner must demonstrate that “counsel's representation fell
below an objective standard of reasonableness.” Id. at 688.

Judicial scrutiny of counsel's performance must be
highly deferential. It is all too tempting for a
defendant to second-guess counsel's assistance after
conviction or adverse sentence, and it is all too easy
for a court, examining counsel's defense after it has
proved.unsuccessful, to conclude that a particular act or
omission. of counsel was unreasonable. . . . A fair
assessment of attorney performance requires that every
effort be made to eliminate the distorting effects of
hindsight, to reconstruct the circumstances of counsel's
challenged conduct, and to evaluate the conduct from

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counsel's perspective at the time. Because of the
difficulties inherent in making the evaluation, a court
must indulge a strong presumption that counsel's conduct
falls within the wide range of reasonable professional
assistance; that is, the defendant must overcome the
presumption that, under the circumstances, the challenged
action “might be considered sound trial strategy.”
Id. at 689 (citations omitted); see also Coe v. Bell, 161 F.3d 320,
342 (6th Cir. 1998) (“The specifics of what Coe claims an effective
lawyer would have done for him are too voluminous to detail here.
They also largely miss the point: just as (or more) important as
what the lawyer missed is what he did not miss. That is, we focus

on the adequacy or inadequacy of counsel's actual performance, not

counsel's (hindsight) potential for improvement.”); Adams v. Jago,
703 F.2d 978, 981 (6th Cir. 1983) (“a defendant ‘has not been

denied effective assistance by erroneous tactical decisions if, at
the time, the decisions would have seemed reasonable to the
competent trial attorney’”).

A prisoner attacking his conviction bears the burden of
establishing that he suffered some prejudice from his attorney's
ineffectiveness. _§g Lewis v. Alexander, 11 F.3d 1349, 1352 (6th
Cir. 1993); Isabel v. United States, 980 F.2d 60, 64 (lst Cir.
1992). “[A] court need not determine whether counsel's performance
was deficient before examining the prejudice suffered by the
defendant.” Strickland, 466 U.S. at 697. If a reviewing court finds
a lack of prejudice, it need not determine whether, in fact,

counsel's performance was deficient. See id. at 697.

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The Tennessee Court of Appeals denied this claim on the
merits, explaining as follows:

During jury selection, a sergeant at the jail where the
petitioner was confined. was seated. as a prospective
juror. Counsel stated she recommended his dismissal, but
the petitioner wanted him retained due to the sergeant's
fair treatment of the petitioner. The sergeant was seated
as a juror.

After the petitioner's conviction, counsel reviewed
the appellate issues with him. The petitioner brought up
the issue of the sergeant on the jury, and counsel
explained it was not an appropriate appellate issue as
the petitioner had accepted the juror and the peremptory
challenges were not exhausted.

In reference to jury selection, the petitioner
contended that he had opposed the retention of the
sheriff's deputy as a juror. He stated that it would have
been. illogical for‘ hinl to accept the sergeant after
having filed a grievance on one of the sergeant’s
subordinate’s.

In reference to the petitioner's complaint of
improper jury selection, the post-conviction court

accepted counsel's testimony concerning her
recommendation that the juror in question be excused and
thus rejected the petitioner's claim. . .. In concluding

that the petitioner had not established that services of
counsel were deficient or any resultant prejudice, the
post-conviction judge found that the petitioner had
failed to establish the factual allegations by clear and
convincing evidence.

The post-conviction court accepted counsel's
testimony concerning . . . the jury selection. The
evidence does not preponderate against these findings,
and we accept them.

Murff v. State, 2004 WL 367668, at *2, *3, *5.

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An analysis of Murff's petition is complicated because he
has not referred to the legal standards for reviewing habeas claims
on the merits. §gg §pppg pp. 16-21. Murff makes no argument that
the decision of the Tennessee Court of Criminal Appeals on this
issue was contrary to, or an unreasonable application of, clearly
established federal law. 28 U.S.C. § 2254(d)(l). This is “a run-of-
the-mill state-court decision applying the correct legal rule from
[Strickland v. Washington] to the facts of a prisoner's case” and,
therefore, it “does not fit comfortably' within, § 2254(d)(l)'s
‘contrary to’ clause.” Williams v. Tavlor, 529 U.S. at 406.

It is not clear whether Murff contends that the decision
of the Tennessee Court of Criminal Appeals was an unreasonable
application of Strickland or whether he contends that the decision
was incorrect. Williams, 529 U.S. at 410; see also §pp;g p. 19
n.7. Murff does not cite any controlling Supreme Court precedent
for the proposition that it constitutes ineffective assistance of
counsel, as a matter of law, for an attorney to fail to challenge
a juror under the circumstances of this case. §pp §Miller v.
Francis, 269 F.3d 609, 620-21 (6th Cir. 2001) (state court's
finding that attorney did not render ineffective assistance in case
involving gross sexual imposition and rape of a minor by failing to
challenge prospective juror who revealed during voir dire that she

had some knowledge of case due to her work as a caseworker at state

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Department of Children’s Services was not an unreasonable
application of Strickland).

Murff seems to contend that the decision of the Tennessee
Court of Criminal Appeals was based on an unreasonable
determination of the facts in light of the evidence presented at
the state-court hearing. 28 U.S.C. § 2254(d)(2). However, the
petitioner fails to demonstrate that the factual findings of the
Tennessee Court of Criminal Appeals were objectively unreasonable.
Although Murff asserts that the juror at issue had personal
knowledge concerning the facts of the case. he fails to cite any
facts that would support that proposition. At most, the juror had
information concerning Murff's conduct while he was incarcerated
prior to trial. §pp Miller, 269 F.3d at 616-17 (“Jurors need not be
totally ignorant of the facts and issues involved in the case.

Furthermore, while [the juror] served.as [the victim's mother’s]
welfare caseworker, there is no indication from the record that
they shared a close personal relationship.”) (citing lrvin v. Dowd,
366 U.S. 717, 722 (1961)).

Moreover, Murff fails to address the state-court's
finding that he has not demonstrated prejudice. §§p_§pp;a p. 25. In
order to prevail on an ineffective assistance clain1 based. on
counsel's conduct during' yp;;, d;;g, a habeas petitioner must
demonstrate that a juror had an actual bias against him. Tinsley v.

Million, 399 F.3d 796, 805 (6th Cir. 2005); Miller v. Webb, 385

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F.3d 666, 674 (6th Cir. 2004); Miller v. Francis, 269 F.3d at 616.
“Actual bias” means “‘bias in fact'-the existence of a state of
mind that leads to an inference that the person will not act with
entire impartiality.” Miller v. Webb, 385 U.S. at 673 (internal
quotation marks omitted). Murff's petition does not set forth any
facts from which it can be inferred that the juror at issue was
actually biased against him. Indeed, Murff’s admission that he
rejected his attorney's recommendation that the defense exercise a
peremptory challenge to strike that prospective juror because he
believed him to be a fair man undermines his claim that the jailer
was so obviously biased that his attorney rendered ineffective
assistance by failing to challenge him. Accordingly, Murff has not
satisfied his burden of demonstrating, by clear and convincing
evidence, that the state-court's decision that he had failed to
establish deficient performance and prejudice, within the meaning
of Strickland, was based on an unreasonable determination of the
facts in light of the evidence presented at the state-court
hearing.

For all of the foregoing reasons, Murff's first claim is

without merit and is DISMISSED.

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B. The failure to promptly arraign the petitioner (Claim 2)

In his second claim for relief, Murff asserts that the
State violated his Fourth Amendment rights by failing to promptly
arraign him. According to Murff, he was handcuffed by police on May
27, 2000 at approximately 8:30 p.m. and taken to the police
station, where he remained until very early the next morning. An
arrest warrant was not issued until May 30, 2000. His initial
appearance 'was scheduled for June 8, 2000, at which. time the
General Sessions Court judge directed that a criminal background
check be run and continued the case until June 23, 2000. At that
time, his motion for a reduction in bail was denied and a
preliminary hearing was set for September 1, 2000.

Murff failed to exhaust this issue in state court, having
failed to raise it on direct appeal, in his postconviction
petition, or in his state habeas application.11 Because there is no
longer any avenue by which Murff can raise this claim in the state
courts, the issue is procedurally barred. Accordingly, the Court

DISMISSES Murff's second claim.

 

11 Trial counsel testified at the postconviction hearing that the three-
month delay between the filing of charges and the preliminary hearing “was due
to the victim's injuries, which were characterized as life threatening.” Murff
v. State, 2004 WL 367668, at *2. There is no indication that Murff presented that
delay as an independent claim for relief to any state court. In addressing
Murff's ineffective assistance claims, the Tennessee Court of Criminal Appeals
noted that it “would have been futile” for counsel to file a writ of habeas
corpus based on the delay between his arrest and the preliminary hearing. Ld. at
*5.

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C. Ineffective assistance of counsel (Claims 3, 4 & 5)

In his three final claims, Murff asserts that he received
ineffective assistance of counsel. The specific acts and omissions
of counsel that are alleged to constitute deficient performance are
not clearly enumerated in the petition. It appears, however, that
Murff first asserts that his attorney admitted during the
postconviction hearing that she did not determine that Murff had
the affirmative defense of claim of right until a few days before
trial.12 Because counsel failed to give proper notice of the
affirmative defense, the trial judge did not instruct the jury as
to the defense.

Although counsel did not explicitly raise the matter as
an affirmative defense, that argument did form the basis for
Murff's sufficiency of the evidence argument on direct appeal,
which the Tennessee Court of Criminal Appeals rejected on the
merits:

A conviction for especially aggravated robbery
requires that the State prove (1) an intentional or
knowing theft of property from the person of another by
violence or putting the person in fear; (2) accomplished
with a deadly weapon; and (3) where the victim suffers
serious bodily injury. See Tenn. Code Ann. §§
39-13-401(a), -403(a) (1997). Theft of property occurs
when a person, acting with the intent to deprive the
owner of property, knowingly obtains or exercises control

over the property without the owner’s effective consent.
See Tenn. Code Ann. § 39-14-103 (1997).

 

12 Murff is apparently contending that his attorney should have raised

as an affirmative defense to the charge of especially aggravated robbery that the
money taken was due and owing for his lawn services.

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The defendant apparently concedes that he used a
deadly weapon, that the victim sustained serious bodily
injury in the attack, and that he took $10 from the
victim's wallet. Nonetheless, he contends that the
evidence was insufficient to support his conviction for
especially aggravated.robbery because the State failed to
show that he took anything from the victim other than the
“ten dollars that both parties agreed was owed for lawn
mowing services.” Although the defendant's argument on
this issue is not entirely clear, we surmise that he is
relying on the “owner of property" language in the
definition of theft of property to assert that he cannot
be convicted of robbery for taking his own property from
the victim, i.e., the $10 he claims he was owed.

 

The defendant is mistaken. As an initial matter, we
note that the record contradicts his assertion that “both
parties agreed" that the lawn mowing debt was $10. The
victim testified he thought the defendant was there to
collect $5, the usual amount the victim paid the
defendant for cutting his grass. Howeverl the amount of
money the victim may have owed the defendant has no
bearing on the defendant's conviction. for especially
aggravated robbery. The manner in. which. property is
taken, rather than to whom it lawfully belonqs, is the
issue in robbery offenses. §p§ State v. Cannon, 661
S.W.2d 893, 899 (Tenn. Crim. App. 1983); Elliott v.
State, 2 Tenn. Crim. App. 418, 454 S.W.2d 187, 188 (Tenn.
Crim. App. 1970). “‘The gist of the offense of robbery is
the felonious and forcible taking from the person of
another goods of value by putting him in fear.'” State v.
Claybrooks, 910 S.W.2d 868, 871 (Tenn. Crim. App. 1994)
(quoting Elliott, 454 S.W.Zd at 188). Although our
current definition of robbery is slightly different, see
Tenn. Code Ann. § 39-13-401(a) (1997), the principle
remains the samel ppg State v. Darrell Wentzel, No.
01C01-9705-CC-00193, 1998 Tenn. Crim. App. LEXIS 1263, at
*19 n. 4 (Tenn. Crim. App. Dec. 7, 1998) (“[N]othing in
the aggravated robbery statutes requires proof of

 

 

ownership.”), perm. to appeal denied (Tenn. May 10,
1999); State v. Paul Dwight Finchum, No.
02C01-9105-CR-00087, 1991 Tenn. Crim. App. LEXIS 845, at
*4 (Tenn. Crim. App. Oct. 16, 1991) (“[A] person who

commits the acts necessary to constitute the offense of
armed robbery is nonetheless guilty of that offense even
though the property taken in the robbery is the property
of the robber.”); State v. Steven E. Moore, No.
88-240-111, 1989 Tenn. Crim. App. LEXIS 242, at *3 (Tenn.

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Crim. App. Mar. 28, 1989) (“The defendant is guilty of
armed robbery even if he could show he only took his own
money from the victim.”). Thus, evidence that the

 

defendant took any amount of cash or property during his
violent hammer-wielding attack on the victim would be
sufficient to support his conviction for especially
aggravated robbery, regardless of how much the victim
owed or whether he refused to pay the debt.

State v. Murff, 2002 WL 1284296, at *6-*7 (emphasis added). In
light of this discussion by the Tennessee Court of Criminal
Appeals, it appears doubtful that a “claim of right” defense to a
robbery charge exists under Tennessee law.

The Tennessee Court of Criminal Appeals rejected this
aspect of Murff's ineffective assistance claim on the merits:

Counsel considered affirmative defenses and thought
one was applicable, a “claim of right.” This defense was
based on the petitioner's claim that the victim owed him
money for yard work. Counsel failed to file notice of
this as an affirmative defense, and it Was not included
in the jury instructions. However, the petitioner's
claimed right to the money was argued to the jury.

Counsel conceded that the one affirmative defense
she adopted, a “claim of right” as to the money taken,
was not timely filed. However, the issue was argued to
the jury and was considered on direct appeal, In
rejecting this argument, this Court stated, “the amount
of money the victinlmay have owed the {petitioner] has no
bearing on the [petitioner’s] conviction for especially
aggravated robbery.” Anthony§Murff, 2002 Tenn. CrinL App.
LEXIS 498, at *20.

Murff v. State, 2004 WL 367668, at *2, *5.
In light of the decisions of the Tennessee Court of
Criminal Appeals with respect to the so-called “claim of right”

defense under Tennessee law, Murff cannot establish that his

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attorney’s failure to file a notice of affirmative defense
constituted deficient performance or that he suffered prejudice as
a result of that omission. This issue is without merit.

Next, Murff asserts that other affirmative defenses were
available, including adequate provocation, self defense, and the
duty to retreat. It appears that Murff did not raise any issue
pertaining to adequate provocation and duty to retreat in state
court and, as he no longer has any means of raising these issues,
they are procedurally barred. Likewise, it appears that the only
reference to self defense that was raised in state court occurred
in passing during his testimony at the postconviction hearing.
Murff v. State, 2004 WL 367668, at *3. Murff has not set forth
facts indicating he had a viable claim of self defense,
particularly in light of the number of blows the victim sustained
and the severity of his injuries. Moreover, the evidence at trial
indicated that the defendant had no visible signs of injury at the
time of his arrest. §§p §pppg pp. 8, 9. Accordingly, this issue is
without merit.

Next, Murff suggests that his attorney should have
presented evidence that the victim had a violent attitude and a
drug and drinking problem. This issue was raised at the
postconviction hearing. Trial counsel testified that “[h]er
investigation did not confirm any evidence of violent behavior or

tendencies by the victim.” Murff v. State, 2004 WL 367668, at *l.

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During his testimony, Murff “faulted counsel's lack of
investigation into the possibility of the victim combining alcohol
and Prozac.” ldp at *2. He also “complained that counsel did not
agree with his desire to attack the victim's mental state. He
stated that her investigation into the facts and his defenses were
so deficient as to result in an unfair trial.” ;dp Although the
Tennessee Court of Criminal Appeals did not discuss this issue at
length, it found that “none of the petitioner's allegations merit
relief.” ldp at *5.

Murff has not satisfied his burden of demonstrating that
this conclusion was contrary to, or an unreasonable application of,
clearly established federal law, as required. by 28 U.S.C. §
2254(d)(1), or that the decision was based on an unreasonable
determination of the facts in light of the evidence presented at
the state-court hearing, as required by 28 U.S.C. § 2254(d)(2).
Notably, Murff has come forward with no specific information that
the victim had a history of violence or of abuse of alcohol or
prescription drugs.13 Moreoyer, in light of the age of the victim
and the severity of his injuries, counsel appears to have made a
reasonable strategic decision that the jury would be unlikely to be

receptive to this line of defense. This issue is without merit.

 

13 As previously noted, see supra p. 6, one of the investigating

officers testified at trial that he had not smelled alcohol on the victim's
breath.

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Murff also argues that counsel failed to confirm the
accuracy of the victim's medical records, which were apparently
produced in discovery by the prosecution, and failed to investigate
the puddle of blood. on the floor of the 'victim’s apartment.
Although the issue is not clearly articulated in the petition, it
seems Murff is reiterating a claim, first raised in connection with
the postconviction petition, that the victim's injuries were not as
severe as had been represented. The Tennessee Court of Criminal

Appeals rejected this claim on the merits:

The petitioner's counsel testified that she reviewed the
victim's medical reports from The Med, Baptist
Lauderdale, and a rehabilitation facility. Counsel could
not recall the exact number of times the victim had been
struck but said there was one depressed skull fracture
that required a metal plate insert and several other deep
gashes on the head. She recalled the petitioner had
claimed that he only struck the victim once.

On cross-examination, counsel reiterated that the
victim's injuries were serious enough to render his
survival questionable.

The petitioner testified that, had counsel
investigated. properly, she would have seen that the
victim was untruthful in his account. He also stated
that, had counsel talked to physicians personally, she
could have better refuted the prosecution theory on the
number of injuries suffered by the victim.

The petitioner also stated his belief that,
had expert medical testimony been acquired, it would have
refuted the allegation that he repeatedly struck the
victim.

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In regard to the petitioner's claim that an expert
witness should have been retained to testify that the
victim was not seriously injured, the post-conviction
court pointed out there was no showing an expert would
have testified in that manner. We note as well that it is
the obligation of the petitioner to present such a
witness at the evidentiary hearing. State v. Black, 794
S.W.Zd 752, 757 (Tenn. Crim. App. 1990).

Murff v. State, 2004 WL 367668, at *2, *5.

Murff has not satisfied his burden of demonstrating that
this conclusion was contrary to, or an unreasonable application of,
clearly established federal law, as required by 28 U.S.C. §
2254(d)(1), or that the decision was based on an unreasonable
determination of the facts in light of the evidence presented at
the state-court hearing, as required by 28 U.S.C. § 2254(d)(2).
Because he failed to introduce expert testimony at his
postconviction hearing, there is no proof that the extent of the
victim's injuries was open to question or that counsel's failure to
raise the issue satisfied either prong of the Strickland standard.
This issue is without merit.

Next, Murff contends that his attorney failed adequately
to consult with him prior to trial. This issue was raised at the
postconviction hearing, and the Tennessee Court of Criminal Appeals
rejected it on the merits:

The petitioner refused to meet with counsel on one

of her pretrial visits to the jail. Counsel informed the
trial court, and a hearing was held the following day.
The petitioner requested.a new attorney be appointed, and

the court denied the request. Following the hearing,
counsel stated she was able to spend several hours with

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the petitioner preparing for trial. She felt prepared for
trial.

On cross-examination, . . . [c]ounsel could not
recall the number of hours spent in consultation with the
petitioner but did state that she met with him a total of
nine or ten times.

The petitioner testified that he tried repeatedly to
have counsel come and discuss his defense. He stated that
his wife and mother called his counsel and that he sent
word by inmates requesting her presence. He also sent a
six-page letter to counsel in reference to preparing the
defense. After the petitioner sent a letter of complaint
to counsel's supervisor, she appeared for a conference
three days later.

In reference to allegations of non-communication in
his petition, he stated there was a conflict between him
and counsel. The petitioner said he was frustrated that
counsel would not come and talk to him. He stated “[i]t
got to the point where, . . . . I refused to see her.”
The petitioner stated that he did not trust counsel and
although they communicated at trial, he did not feel his
input was accepted.

The post-conviction court accepted the testimony of
counsel as to her consultation with the petitioner and
rejected the petitioner's claim of inadequate
consultation.

The post-conviction court accepted counsel's
testimony concerning the investigation, consultation\vith
the petitioner, and counsel's account of the jury
selection. The evidence does not preponderate against
these findings, and we accept them.

Murff v. State, 2004 WL 367668, at *2-*3, *5.

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Although Murff appears to take the position that this
decision was based on an unreasonable determination of the facts in
light of the evidence presented at the state-court hearing, he
fails to come forward with clear and convincing evidence to
contradict the state-court's factual findings. Moreover, even if it
were accepted that counsel did not meet with Murff as often as he
would have liked, he fails to demonstrate a reasonable likelihood
that, if only there had been more meetings, counsel would have been
able to pursue some viable defense. This issue is without merit.

Murff also contends that the jury was not instructed with
respect to the affirmative defense of “clain\ of right.” The
petition does not present the jury charge Murff contends should
have been given. As previously noted, however, ppg supra pp. 30-33,
no such defense exists under Tennessee law to a robbery charge and,
therefore, counsel was not ineffective for failing to request a
jury instruction. This issue is without merit.

Finally, although Murff argues that counsel rendered
ineffective assistance by failing to investigate and present
mitigating evidence at the sentencing hearing, this issue was not
raised in state court and, as no avenue for raising the issue
presently exists, it is barred by procedural default.

Because it “plainly appears from the face of the petition
and any exhibits annexed to it that the petitioner is not entitled

to relief in the district court,” summary' dismissal prior to

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service on the respondent is proper. Rule 4, Section 2254 Rules.
The petition is DISMISSED.
IV . APPEAL ISSUES

The Court must also determine whether to issue a
certificate of appealability (“COA”). The statute provides:

(1) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be
taken to the court of appeals from-

(A) the final order in a habeas corpus proceeding
in which the detention complained of arises

out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph (1) only if the applicant has made a
substantial showing of the denial of a
constitutional right.
(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253©; see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district
judges may issue certificates of appealability under the AEDPA). No
§ 2254 petitioner may appeal without this certificate.

In Slack v. McDaniel, 529 U.Sf 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which

requires a showing that “reasonable jurists could debate whether

(or, for that matter, agree that) the petition should have been

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resolved in a different manner or that the issues presented were
“‘adequate to deserve encouragement to proceed further.'” §Lppk,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue
limitations on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require
a showing that the appeal will succeed. Accordingly, a
court of appeals should not decline the application of a
COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in
Slack would mean very little if appellate review were
denied.because the prisoner did not convince a judge, or,
for that netter, three judges, that he or she would
prevail. It is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.’”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot,
463 U.S. at 893). Thus,

A.prisoner seeking a COA.must prove “‘something more
than the absence of frivolity’” or the existence of mere
“good faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
Indeed, a clain\can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

Id. at 338 (quoting Barefoot, 463 U.S. at 893); see also id. at 342
(cautioning courts against conflating their analysis of the merits

with the decision of whether to issue a COA; “The question is the

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debatability of the underlying constitutional claim, not the
resolution of that debate.”).14

In this case, there can be no question that any appeal by
this petitioner does not deserve attention for the reasons
previously stated. The Court, therefore, DENIES a certificate of
appealability.

The United States Court of Appeals for the Sixth Circuit
has held that the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(b), does not apply to appeals of orders denying §
2254 petitions. Kincade v. Sparkman, 117 F.3d 949, 951 (6th Cir.
1997): _C_:f4 McGore v. Wrigglesworth, 114 F.3d 601 (6th Cir. 1997)
(instructing courts regarding proper PLRA procedures in prisoner
civil-rights cases). Rather, to seek leave to appeal lp fp;pg
pauperis in a § 2254 case, and thereby avoid the $255 filing fee
required by 28 U.S.C. §§ 1913 and 1917,15 the petitioner must seek
permission from the district court under Rule 24(a) of the Federal

Rules of Appellate Procedure. Kincade, 117 F.3d at 952. If the

 

“ By the same token, the Supreme Court also emphasized that “[o]ur

holding should not be misconstrued as directing that a COA always must issue.”
Id. at 337. Instead, the COA requirement implements a system of “differential
treatment of those appeals deserving of attention from those that plainly do
not.” Id.

n Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, I l, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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motion is denied, the petitioner may renew the motion in the
appellate court.
Rule 24(a) of the Federal Rules of Appellate Procedure

states, in pertinent part, that:

A party to an action in a district court who desires to

proceed on appeal pp forma pauperis shall file in the

district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by

Form 4 of the Appendix of Forms, the party's inability to

pay fees and costs or to give security therefor, the

party's belief that that party is entitled to redress,

and a statement of the issues which that party intends to

present on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons the
Court denies a certificate of appealability, the Court determines
that any appeal in this case would not be taken in good faith. It
is therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any
appeal in this matter by this petitioner is not taken in good

faith, and he may not proceed on appeal pp forma pauperis.

IT Is so oRDERsD this w day of August, 2005.

s QMM

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 7 in
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Anthony Murff

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Honorable J on McCalla
US DISTRICT COURT

